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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 RETHINK35, et al.                                §
                                                  §
                Plaintiffs,                       §
 v.                                               §      CIVIL ACTION NO. 1:24-CV-00092-DII
                                                  §
 TEXAS DEPARTMENT OF                              §
 TRANSPORTATION,                                  §
                                                  §
                Defendant.                        §


          JOINT MOTION TO EXTEND SCHEDULING REPORT DEADLINE

       Plaintiffs Rethink35, et al., and Defendant Texas Department of Transportation

(“TxDOT”) respectfully ask the Court to extend the 14-day time limit for submission of the parties’

joint report proposing a briefing schedule for dispositive motions in this matter. The current

deadline, pursuant to the scheduling order adopted by the Court, is January 3, 2025, fourteen days

after the Court’s order resolving Plaintiffs’ motion to supplement the administrative record. The

parties request a 10-day extension of that scheduling order deadline, to January 13, to align the

joint report submission deadline with the existing January 13 deadline for submission of another

report by the parties concerning their positions on completion of the administrative record.

       A brief delay in submission of the joint report is principally warranted due to the holiday

period that intervened between the Court’s order and the current deadline. While the parties have

met and conferred regarding the briefing schedule, discussions remain ongoing, and providing

additional time would be helpful in reaching agreement. No party will be prejudiced by the

deadline extension requested.
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       WHEREFORE, Plaintiffs and Defendant jointly respectfully request that the Court modify

the scheduling order to extend the 14-day deadline for submission of a joint report proposing a

briefing schedule by 10 days, to January 13, 2025.



Respectfully submitted,

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                              CERTIFICATE OF CONFERENCE

       I certify that on January 3, 2025, counsel for Plaintiffs indicated that Plaintiffs join in the
request for relief sought in this motion.


                                                  /s/ Lisa McClain Mitchell
                                                  LISA MCCLAIN MITCHELL
                                                  Assistant Attorney General




                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 3, 2025, I electronically filed the foregoing motion with
the Clerk of the Court using the CM/ECF system, which will send notification to registered users.

                                                  /s/ Lisa McClain Mitchell
                                                  LISA MCCLAIN MITCHELL
                                                  Assistant Attorney General
